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                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

KEERUT “KEITH” SINGH,                            )
                                                 )
       Plaintiff,                                )
                                                 )            2:22-cv-02252-SEM-EIL
       v.                                        )
                                                 )            Hon. Sue E. Myerscough
VIKRAM D. AMAR, et al.,                          )
                                                 )
       Defendants.                               )

DEFENDANTS’ REDACTED EXHIBITS PER COURT ORDER DATED JULY 17, 2023

       On July 17, 2023, this Court entered an Order instructing the parties to refile redacted

versions of documents 1-3, 1-6, 1-7, 5-1, 7-1, 7-3., 7-4, and 9-1. The Court instructed the parties

to redact “Plaintiff’s personally identifiable information […] and the names, telephone numbers,

and other identifiable information of all non-parties,” as well as information that is “’highly

embarrassing to the average person yet somehow pertinent to this suit.’” Dkt. # 39. Defendants,

who filed the documents originally labeled as 7-1, 7-3, and 7-4, therefore have attached here

those documents with proper redactions labeled as Exhibit 1, Exhibit 2, and Exhibit 3

respectively.

                                                      By: /s/ Michael D. Hayes
                                                      Counsel for Defendants

                                                      Michael D. Hayes
                                                      Michael.hayes@huschblackwell.com
                                                      HUSCH BLACKWELL, LLP
                                                      120 S. Riverside Plaza
                                                      Suite 2200
                                                      Chicago, Illinois 60606
                                                      (312) 341-9830
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                              Katherine M. Tierney
                              Katherine.tierney@huschblackwell.com
                              HUSCH BLACKWELL, LLP
                              120 S. Riverside Plaza
                              Suite 2200
                              Chicago, Illinois 60606
                              (312) 526-1568
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                               CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing Defendants’ Redacted Exhibits Per Court

Order Dated July 17, 2023 was served on Plaintiff and counsel of record as a result of the

CM/ECF filing on July 20, 2023 before the hour of 5:00 pm CST.

                                                           /s/ Michael D. Hayes
